I concur with what has been said by the other member of the Court; and I will now only say that the present objection is by a stranger, who ought not to be heard to complain when the parties to the judgment are satisfied. The plaintiff, in this, as in all other cases, must make out his title; but he can say to Williams, Stranger, stand aside; it is nothing to you whether I had a good judgment or not. The heirs do lot complain. If there be any defect you are not to meddle in that; for they and I are to settle it. The Court will say he is a stranger, who excepts to a title which is derived through a channel he had no concern with. If the parties acquiesce, why should he disturb them? As to Newnan and Maclin, if the title were in any respect doubtful, the Court could not compel the purchaser to receive it. That was all the Court decided. It was enough in that case if the Court could see that probable objections could be raised against the title. It may be true that the judgment is not void in any case where the Court has jurisdiction. But, without deciding on that point, we can see here that the judgment is not void, and that the Circuit Court has erred. Judgment reversed.